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                                UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

                                     CASE NO. 20-20172-CIV-MARTINEZ

  777 PARTNERS LLC and
  INSURETY CAPITAL LLC,

                  Plaintiffs,

  v.

  CHRISTOPHER JAMES PAGNANELLI,

             Defendant.
  ________________________________________/

    DEFENDANT’S EXPEDITED MOTION TO RECONSIDER AND VACATE ORDER
  DENYING MOTION TO AMEND THE COURT’S FINDINGS AND JUDGMENT, OR IN
                  THE ALTERNATIVE, FOR A NEW TRIAL

           Defendant Christopher James Pagnanelli, hereby moves the Court for entry of an Order on

  an expedited basis reconsidering and vacating the Order Denying Motion to Amend the Court’s

  Findings and Judgment, or in the Alternative, for a New Trial (ECF No. 309, referred to herein as

  the “Order”) pursuant to Rules 59(e) and 60(b)(1) Federal Rules of Civil Procedure 1 and Local

  Rule 7.1. This Motion is brought on an expedited basis pursuant to Local Rule 7.1(d) and a ruling

  on this Motion is respectfully requested on or before April 26, 2024. For the reasons set forth

  herein, Defendant’s Motion to Reconsider and Vacate (“Motion”) should be granted and the

  Court’s March 28, 2024 Order should be vacated nunc pro tunc.




  1
    Motions to reconsider are often construed as a Rule 59(e) motion. Green v. Drug Enforcement Admin., 606 F.3d
  1296, 1299 (11th Cir. 2010). However, a motion to vacate an order entered as a result of an error of law is also properly
  brought under Rule 60(b)(1). Kemp v. U.S., 596 U.S. 528, 534-35 (2022).

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                                       Grounds for Expedited Motion

           Defendant seeks expedited consideration and a ruling on this Motion, pursuant to Local

  Rule 7.1(d)(2), on or before April 26, 2024, in order to preserve his appellate rights and to avoid

  an unnecessary appeal which must be filed by April 29, 2024 if expedited relief is not granted. The

  Order denied Defendant’s Motion to Amend the Court’s Findings and Judgment, or in the

  Alternative, for a New Trial (ECF No. 297) (the “Motion to Amend”) on the basis that it was

  untimely pursuant to Rules 52(b) and 59(b). Respectfully, this ruling was manifestly erroneous as

  discussed below. Rules 52(b) and 59(b) both require that a motion be filed within 28 days after

  entry of a judgment. The Court’s Findings of Fact (ECF No. 295) and Final Judgment (ECF No.

  296) were signed on July 14, 2024, but both were entered on July 17, 2024. 2 The entry date of July

  17, 2024 is reflected both on the ECF data lines affixed to the top of each page of the Findings and

  Conclusions and the Final Judgment, as well as on the Court’s docket. Therefore, Defendant’s

  Motion to Amend was timely filed on August 14, 2024, i.e., 28 days after the Final Judgment was

  entered. The Order impacts upon Defendant’s appellate remedies. Based upon the Court’s

  conclusion that the Motion to Amend was not timely filed, Defendant’s time to appeal the Final

  Judgment is potentially not tolled, and Defendant’s time to appeal the Order (and the underlying

  Judgment) expires after April 29, 2024. However, because the Motion to Amend was timely filed,

  it is appropriate to correct this error in order to avoid an unnecessary appeal. A likely result of such

  an appeal would be a remand to this Court to consider the timely Motion to Amend, which is

  wasteful of judicial resources and would delay the orderly progress of this matter. For this reason,




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    While not expressly stated in the Order, Defendant believes that the Court may have mistakenly used the date the
  Findings and Conclusions and the Final Judgment were signed, July 14, 2024, rather than the date they were entered
  by the Clerk, July 17, 2024, in reaching the erroneous conclusion that the Motion to Amend was untimely.

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  Defendant respectfully requests expedited consideration of this Motion and a ruling on or before

  April 26, 2024.

                                             Memorandum of Law

           Relief under Rule 59 may be granted based upon manifest error of law, mistake of fact, or

  newly discovered evidence. See 200 Leslie Condo. Ass’n, Inc. v. QBE Ins. Corp., No. 10-61984-

  CIV, 2013 WL 12086770, at *1 (S.D. Fla. Nov. 4, 2013); Fed. R. Civ. P. 59(a)(1)(B). Similarly,

  Rule 60(b)(1) permits a party to seek relief from a judgment or order based on “mistake,

  inadvertence, surprise, or excusable neglect.” The word “‘mistake’ in Rule 60(b)(1) includes legal

  errors made by judges.” Kemp v. U.S., 596 U.S. at 535. This includes errors of both fact and law.

  Id. at 534. “Rule 60(b) is to be given a liberal construction so as to do substantial justice and ‘to

  prevent the judgment from becoming a vehicle of injustice.’” MIF Realty L.P. v. Rochester

  Assocs., 92 F.3d 752, 755 (8th Cir. 1996) (citations omitted). See Harris v. Ledford Farms, Inc.,

  No. l2–20743–CIV, 2013 WL 5538887 at * 2 (S.D. Fla. Oct. 8, 2013) (citing United States v.

  Gould, 301 F.2d 353, 357 (5th Cir. 1962) (liberally construing Rule 60(b)(1)). 3 In deciding a Rule

  60 motion, an “important equitable consideration is whether the litigants received a ruling on the

  merits of their claims.” MIF Realty L.P., 92 F.3d at 756. A motion brought under Rule 60(b)(1)

  must be filed within one year after entry of the order to be considered. Rule 60(c)(1). Under either

  Rule 59 or Rule 60, the Court should correct its error and vacate the Order nunc pro tunc.

                                Defendant’s Motion to Amend was Timely

           While the Court’s Findings of Fact (ECF No. 295) and Final Judgment (ECF No. 296) in

  the instant action were signed on July 14, 2023, both were entered on July 17, 2023. The date of

  entry is reflected on the ECF data lines of both documents. The Final Judgment states as follows:


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    Fifth Circuit decisions issued prior to September 30, 1981 are deemed binding precedent in the Eleventh Circuit.
  See Bonner v. City of Prichard, 661 F.2d 1206, 1207 (11th Cir. 1981).

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  “Case 1:20-cv-20172-JEM Document 296 Entered on FLSD Docket 07/17/2023” (emphasis

  added). The Findings of Fact and Conclusions of Law states as follows: “Case 1:20-cv-20172-

  JEM Document 295 Entered on FLSD Docket 07/17/2023” (emphasis added). Similarly, the

  Court’s docket lists the entry dates of both documents as July 17, 2023.




           The date appearing in the left-hand column, “7/14/2023,” is the filing date and the entry

  date, “07/17/2023,” appears at the end of the description of the docket entry. Nat’l Sav. Bank of


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  Albany v. Jefferson Bank, 127 F.R.D. 218, 222 (S.D. Fla. 1989) (describing contents of docket

  entries). The “legally operative date from which a party must take some action from the entry of

  an order” is the entry date. Id. “[T]he terms “dated,” “filed,” and “entered” are not to be used

  interchangeably. The term “dated” refers to the date the order is signed by the judge; the term

  “filed” indicates the date the order is file stamped by the Clerk; the term “entered” represents the

  date the order was actually recorded on the docket sheet by the Clerk.” Id. at n.9 (emphasis in

  original). See Morales v. Lucilas Cake’s Bird Rd. Store LLC, No. 21-23513-SCOLA/GOODMAN,

  2022 WL 3084436 at *1, n.1 (S.D. Fla. Apr. 26, 2022) (distinguishing between signing, filing and

  entering an order – an order is entered “when it is actually recorded on the docket sheet”); Rule

  58(c) (judgment is entered when it is entered by the Clerk on the civil docket pursuant to Rule 79);

  see also Cadkin v. Loose, 569 F.3d 1142, 1146, n.2 (9th Cir. 2009) (distinguishing between “filed

  date” and “entered date” in holding appeal was timely as measured from the entered date). Here,

  both the Findings of Fact and Conclusions of Law, as well as the Final Judgment were entered on

  July 17, 2023, not on July 14 when the documents were signed.

           Defendant’s Motion to Amend was brought pursuant to Rules 52(b), 59(a), and 59(c). A

  motion brought under each of these Rules is required to “be filed no later than 28 days after the

  entry of judgment.” Rules 52(b), 59(a), and 59(c) (emphasis added). Defendant’s Motion to Amend

  was filed on August 14, 2022, within 28 days after the Final Judgment was entered. Defendant’s

  Motion was undeniably timely. “[T]he 28-day period in which to file a Rule 59 Motion is triggered

  not when the Final Judgment is signed, but rather ‘28 days after the entry of the judgment.’”

  Precision Wellness, LLC v. Demetech Corp., No. 22-cv-20976-BLOOM/Otazo-Reyes, 2023 WL

  5448038 at *4 (S.D. Fla. Aug. 24, 2023) (emphasis in original). See Guevara v. NCL (Bahamas)

  Ltd., Case No. 15-24294-CIV-WILLIAMS, 2017 WL 6597980, at *1 (S.D. Fla. May 26, 2017);



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  U.S. v. Masko, No. 5:99–CR–13–02, 2010 WL 10972321, at *2 (N.D. Va. Aug. 3, 2010); Ramos

  v. Boehringer Manheim Corp., 896 F. Supp. 1213,1214 n.1 (S.D. Fla. 1994). Defendant’s Motion

  to Amend, filed on August 14, 2023, within 28 days after the judgment was entered on July 17,

  2023, was timely. The Court’s Order finding it was untimely was clearly and indisputably

  erroneous. Under either Rule 59 or Rule 60, the Court should correct its manifest error and vacate

  the Order nunc pro tunc.

            WHEREFORE, Defendant moves this honorable Court, on an expedited basis, to

  reconsider and vacate nunc pro tunc its Order Denying Motion to Amend the Court’s Findings and

  Judgment, or in the Alternative, for a New Trial (ECF No. 309) on or before April 26, 2024, clarify

  that the Motion to Amend the Court’s Findings and Judgment, or in the Alternative, for a New

  Trial, remains under submission, and issue any other relief as the Court may deem proper. The

  Court may then consider the merits of the Motion to Amend separately on a non-expedited basis.

                                  CERTIFICATE OF CONFERRAL

            Under Local Rule 7.1(a)(3), Defendant’s counsel certifies that he conferred with Plaintiff’s

  counsel on the relief sought in this Motion and Plaintiff does not agree to the relief sought

  herein.



  Dated: April 5, 2024                            Respectfully submitted,


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                                                  By:     /s/ Leonard K. Samuels
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                                   CERTIFICATE OF SERVICE

           I certify that on April 5, 2024, I electronically filed the foregoing through the Document

  Filing System (CM/ECF) of the United States District Court for the Southern District of Florida,

  which will provide notice and access to a true service copy of this submission to all counsel of

  record, including:



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                                                               By: /s/ Leonard K. Samuels
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